Case 2:04-cr-20029-BBD Document 21 Filed 05/31/05 Page 1 of 2 PagelD 24

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J.C
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P|aintiff
\/s.
cR. No. 04-20029-D
DEWAYNE wARD
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on lV|ay 19, 2005. At that time, counsel forthe
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Thursdav. Julv 21. 2005. at 9:00 a.m., in Courtroom 3. ch Floor of the
Federa| Bui|ding, Memphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

|T lS SO ORDERED this 52 day of |Vlay, 2005.

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with Fiule 35 and/cr 32(b) FR'CrP on m(d "[”'§ §§

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:04-CR-20029 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

